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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  IN RE: SAMSUNG CUSTOMER DATA
  SECURITY BREACH LITIGATION                          Case No.: 1:23-md-03055-CPO-EAP


 This Document relates To: ALL ACTIONS



                                   NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that, pursuant to Section 5 of the Amended Initial Case

  Management Order (ECF No.6), Steven M. Nathan of the law firm Hausfeld LLP hereby enters

  his appearance Pro Hac Vice on behalf of Plaintiffs Joseph Rollins, Alex Chandler, and Seledia

  Serina in the above captioned matter and states the following in support thereof:

         1.       I am admitted to practice before the United States District Court for the Southern

  District of New York.

         2.       I understand that I am subject to the New Jersey Rules of Professional Conduct,

  the Guidelines for Litigation Conduct, Local Civil Rue 103.1(c), and the disciplinary

  jurisdiction of this Court.

         I, STEVEN M. NATHAN, hereby certify under penalty of perjury that the foregoing

  is true and correct to the best of my knowledge, information, and belief.




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  Dated: March 17, 2023             Respectfully submitted,

                                    /s/Steven M. Nathan
                                    Steven M. Nathan
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                                    New York, NY 10004
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                                    Counsel for Plaintiffs Joseph Rollins,
                                    Alex Chandler, and Seledia Serina




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                                  CERTIFICATE OF SERVICE

        I CERTIFY that on this 17th day of March 2023, I filed a true and correct copy of the

foregoing Notice of Appearance with this Court’s ECF/CM electronic filing system which will

send electronic notification of filing to all counsel of record in this action.



                                                 /s/Steven M. Nathan
                                                 Steven M. Nathan




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